Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
   Civil Action No.: 1:17-cv-01106-CBS

   Theresa Prouty,

               Plaintiff,
   v.

   Ocwen Loan Servicing, LLC,

             Defendant.
   __________________________________________________________________
                     FIRST AMENDED COMPLAINT
   __________________________________________________________________




                                         !1
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 2 of 10




                                    INTRODUCTION
   1.   The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
        was designed to prevent calls like the ones described within this complaint,
        and to protect the privacy of citizens like Plaintiff. In enacting the TCPA,
        Congress intended to give consumers a choice as to how creditors and
        telemarketers may call them, and made specific findings that “[t]echnologies
        that might allow consumers to avoid receiving such calls are not universally
        available, are costly, are unlikely to be enforced, or place an inordinate
        burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.
   2.   Toward this end, Congress found that:

            [b]anning such automated or prerecorded telephone calls to the
            home, except when the receiving party consents to receiving
            the call or when such calls are necessary in an emergency
            situation affecting the health and safety of the consumer, is the
            only effective means of protecting telephone consumers from
            this nuisance and privacy invasion.

            Id. at § 12; see also Martin v. Leading Edge Recovery
            Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10,
            2012) (citing Congressional findings on TCPA’s purpose).
   3.   Congress also specifically found that “the evidence presented to Congress
        indicates that automated or prerecorded calls are a nuisance and an invasion
        of privacy, regardless of the time of call….” Id. at §§ 12-13. See also, Mims
        v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
   4.   Plaintiff Theresa Prouty, by Plaintiff’s attorneys, brings this action to
        challenge the conduct of Ocwen Loan Servicing, LLC (“Ocwen” or
        “Defendant”), with regard to attempts by Defendant to unconscionably and
        abusively collect a debt allegedly owed by Plaintiff. Further, Plaintiff brings

                                           !2
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 3 of 10




         this action for damages and any other available legal or equitable remedies
         resulting from the actions of Defendant in theirits negligent and/or willful
         violations of the TCPA.
   5.    The statute of limitations is tolled due to the commencement of a class action
         based on the same or similar allegations in the matter of Keith Snyder, on
         behalf of himself and all others similarly situated v. Ocwen Loan Servicing,
         LLC, Case No. 1:14-cv-8461, filed against Defendant on October 27, 2014 in
         the Northern District of Illinois. See American Pipe & Construction Co v.
         State of Utah, 414 U.S. 538.
   6.    Plaintiff makes these allegations on information and belief, with the
         exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
         counsel, which Plaintiff alleges on personal knowledge.
   7.    While many violations are described below with specificity, this Complaint
         alleges violations of the statutes cited in their entirety.
   8.    Any violations by Defendant were knowing, willful, and intentional, and
         Defendant did not maintain procedures reasonably adapted to avoid any such
         violation.
                                 JURISDICTION AND VENUE
   9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 47 U.S.C. §
         227(b), and 28 U.S.C. § 1367 for supplemental state law claims.
   10.   This Court has federal question jurisdiction because this action arises out of
         Defendant’s violations of federal law. 47 U.S.C. § 227(b); Mims v. Arrow
         Fin. Servs. LLC, 132 S. Ct. 740 (2012).
   11.   Because Defendant conducts business within the State of Colorado, personal
         jurisdiction is established.


                                               !3
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 4 of 10




   12.   Venue is proper in the United States District Court for the District of
         Colorado pursuant to 28 U.S.C. § 1391(b) because Defendant conducts
         business within this judicial district.
                                           PARTIES
   13.   Plaintiff, at all times mentioned herein, was a resident of the City of Arvada,
         County of Jefferson, State of Colorado, where Plaintiff owned property for
         which Defendant serviced the mortgage. Plaintiff currently resides in
         Citronella, Alabama.
   14.   Plaintiff is, and at all times mentioned herein was, a “consumer” as defined
         by 47 U.S.C. § 153 (39).
   15.   Defendant has its principal place of business in the City of West Palm Beach,
         in the State of Florida.
   16.   Defendant is, and at all times mentioned herein was, a limited liability
         company and a “person,” as defined by 47 U.S.C. § 153 (39).


                                    FACTUAL ALLEGATIONS
   17.   Between approximately March 30, 2011 through November 3, 2015
         Defendant called Plaintiff on Plaintiff’s cellular telephone numbers ending in
         0006 and 0442 via an “automatic telephone dialing system” (“ATDS”), as
         defined by 47 U.S.C. § 227(a)(1), using an “artificial or prerecorded voice”
         as prohibited by 47 U.S.C. § 227(b)(1)(A).
   18.   This ATDS has the capacity to store or produce telephone numbers to be
         called, using a random or sequential number generator.




                                               !4
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 5 of 10




   19.   When Plaintiff would answer the calls from Defendant, there would often be
         a silence, sometimes with a click or a beep-tone, before an Ocwen
         representative would pick up and start speaking.
   20.   Sometimes, Plaintiff would receive calls from Defendant in which the caller
         was a recorded voice or message, rather than a live representative.
   21.   In total, Plaintiff has received at least 2,445 calls from Defendant on
         Plaintiff’s cellular telephones.
   22.   For example, Plaintiff received at least one call every day, often more than
         one call each day, for nearly 30 days straight in the fall of 2015.
   23.   Defendant did not have consent for any of these calls, as Plaintiff did not
         provide either cellular telephone number to Defendant or their predecessors
         on any loan application.
   24.   In the course of receiving these calls, Plaintiff revoked any type of prior
         express consent, if prior express consent ever existed, by stating that Plaintiff
         no longer wished to be contacted by phone.
   25.   Despite this request, the calls continued without interruption. Each of these
         requests terminated any express or implied consent that Defendant may have
         had prior to beginning its campaign of harassment by telephone.
   26.   Each of these calls was an attempt to collect on a consumer debt allegedly
         due and owing by Plaintiff.
   27.   The calls by Defendant to Plaintiff’s cell phone continued, even after
         Plaintiff’s oral revocation.
   28.   These calls were made by Defendant or Defendant’s agent, with Defendant’s
         permission, knowledge, control, and for Defendant’s benefit.



                                              !5
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 6 of 10




   29.   As a result, the telephone calls by Defendant, or its agent(s), violated 47
         U.S.C. § 227(b)(1).
   30.   Through Defendant’s actions, Plaintiff suffered an invasion of a legally
         protected interest in privacy, which is specifically addressed and protected by
         the TCPA.
   31.   Plaintiff was personally affected, becoming frustrated and distressed that,
         despite telling Defendant to stop calling Plaintiff’s cellular phone, Defendant
         continued to harass Plaintiff with collection calls using an ATDS.
   32.   The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and the
         peaceful enjoyment of Plaintiff’s personal and professional life, including the
         ability to use Plaintiff’s phone.
   33.   The calls placed by Defendant to Plaintiff were extremely intrusive,
         including Plaintiff’s relationships with close family members. Specifically,
         Plaintiff began to ignore or send to voicemail many incoming calls from
         unknown numbers, out of frustration in dealing with Defendant’s unwanted
         and intrusive calls. In doing so, Plaintiff missed important communications
         from friends and family.


                                    CAUSES OF ACTION
                                             COUNT I
                            NEGLIGENT VIOLATIONS OF THE
                  TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                                      47 U.S.C. § 227
   34.   Plaintiff incorporates by reference all of the above paragraphs of this
         Complaint as though fully stated herein.


                                               !6
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 7 of 10




   35.   The foregoing acts and omissions of Defendant constitute numerous and
         multiple negligent violations of the TCPA, including but not limited to each
         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
   36.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
         Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
         every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
   37.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such
         conduct in the future.
                                         COUNT II
                          KNOWING AND/OR WILLFUL OF THE
                  TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                                     47 U.S.C. § 227
   38.   Plaintiff incorporates by reference all of the above paragraphs of this
         Complaint as though fully stated herein.
   39.   Each call after Plaintiff requested Defendant stop calling Plaintiff’s cell
         phones constitutes a knowing and/or willful violation of the TCPA.
   40.   The foregoing acts and omissions of Defendant constitute numerous and
         multiple knowing and/or willful violations of the TCPA, including but not
         limited to each and every one of the above-cited provisions of 47 U.S.C. §
         227 et seq.
   41.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
         227 et seq., Plaintiff is entitled to an award of $1,500.00 in statutory
         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B)
         and 47 U.S.C. § 227(b)(3)(C).



                                            !7
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 8 of 10




   42.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such
         conduct in the future.
                                          COUNT III
                                        NEGLIGENCE
   43.   Plaintiff incorporates by reference all of the above paragraphs of this
         Complaint as though fully stated herein.
   44.   Defendant had a duty of care to Plaintiff to exercise reasonable skill and care
         in carrying out account activities. Specifically, Defendant had a duty to act
         reasonably when collecting an alleged debt from Plaintiff, including the
         means and methods for contacting Plaintiff.
   45.   Defendant breached that duty by calling Plaintiff on Plaintiff’s cellular
         telephone thousands of times to harass and/or abuse Plaintiff and infringe on
         Plaintiff’s privacy rights, as discussed above, and continued to call despite
         Plaintiff’s request that the calls stop.
   46.   Plaintiff was harmed and suffered injury as described above.
   47.   The negligence of Defendant was a substantial and proximate factor in
         causing Plaintiff this harm and injury described above.
   48.   As such, Plaintiff is entitled to recover special, compensatory, and general
         damages.


                                    PRAYER FOR RELIEF
   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
   Plaintiff be awarded damages from Defendant, as follows:
         •     Statutory damages of $500.00 for each negligent violation of the TCPA
               pursuant to 47 U.S.C. § 227(b)(3)(B);


                                               !8
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 9 of 10




         •     Statutory damages of $1,500.00 for each knowing and/or willful
               violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
               U.S.C. § 227(b)(3)(C).
         •     A permanent injunction, restraining and enjoining Defendant from
               communicating with Plaintiff in a manner that violates 47 U.S.C. §
               227;
         •     Actual, special, general, and compensatory damages;
         •     Reasonable attorneys’ fees and costs of suit; and
         •     Any and all other relief that the Court deems just and proper.


                                       JURY DEMAND
   49.   Pursuant to the seventh amendment to the Constitution of the United States
         of America, Plaintiff is entitled to, and demands, a trial by jury.



   Dated: July 3, 2017
                                               Respectfully submitted,

                                                   By: /s/ Sarah T. McEahern
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                                              !9
Case 1:17-cv-01104-WJM-SKC Document 45 Filed 07/03/17 USDC Colorado Page 10 of 10




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                                       !10
